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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*************************
CORINNA CARLSON, parent of   *
P.C.B., a minor,             *                      No. 14-623V
                 Petitioner, *                      Special Master Christian J. Moran
                             *
v.                           *                      Filed: February 19, 2016
                             *
SECRETARY OF HEALTH          *                      Attorneys’ fees and costs; award
AND HUMAN SERVICES,          *                      in the amount to which respondent
                             *                      has not objected
                 Respondent. *
*************************

Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for petitioners.
Lynn E. Ricciardella, United States Dep’t of Justice, Washington, D.C., for respondent.

                 UNPUBLISHED DECISION ON FEES AND COSTS1

        Petitioner, Corinna Carlson, on behalf of her minor daughter, filed an unopposed
motion for attorneys’ fees and costs in the above-captioned matter on January 20, 2016.
The motion states the attorneys’ fees are $13,772.50, attorneys’ costs are $2900.80, and
that respondent does not oppose the application. The Court awards these amounts.

       Ms. Carlson filed for compensation on July 18, 2014, alleging that P.C.B. was
injured by the diphtheria-tetanus-acellur pertussis (“DTaP”), hepatitis B, polio (IPV), and
rotavirus vaccines she received on July 18, 2011. After numerous motions for extension,
and, finally, a subpoena, Ms. Carlson filed P.C.B.’s medical records in April 2015, as
required by 42 U.S.C. § 300aa-11(c) and Vaccine Rule 2(c)(2)(A). Respondent filed her
Rule 4 report in July 2015, recommending that P.C.B.’s claim be denied. Resp’t Rep’t at
11-12. Petitioner was afforded an opportunity to file an expert report supporting her
claim, but was unable to find an appropriate medical expert.

       On October 21, 2015, Ms. Carlson filed an unopposed motion to dismiss her
petition. In support of her motion, Ms. Carlson stated that “an investigation of the facts
       1
         The E-Government Act, 44 § 3501 (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website.
Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of
medical information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any
redactions ordered by the special master will appear in the document posted on the website.
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and science supporting this case has demonstrated to Petitioner that at this time she will
be unable to prove that her child is entitled to compensation in the Vaccine Program.”
Ms. Carlson stated that to proceed further with her case would be “unreasonable, and
would waste the resources of the Court, the Respondent, and the Vaccine Program.”
Pet’r Mot. at 1. Ms. Carlson’s claim was dismissed for insufficient proof. Decision, filed
Oct. 28, 2015.

       Even though compensation was denied, a petitioner who brings her petition in
good faith and who has a reasonable basis for the petition may be awarded attorneys’ fees
and costs. See 42 U.S.C. § 300aa–15(e)(1). Here, counsel for petitioner gathered and
filed medical records, attempted to obtain an expert report, and moved for dismissal when
further investigation revealed that petitioner was unlikely to prove her case. Thus,
because petitioner’s counsel acted in good faith, and because there was a reasonable basis
for proceeding, petitioner is eligible for an award of attorneys’ fees and costs.
Respondent does not contend that petitioner failed to satisfy these criteria.

        Ms. Carlson seeks a total of $13,772.50 in attorneys’ fees and $2900.80 in costs
for her counsel. Additionally, in compliance with General Order No. 9, Ms. Carlson
states that she incurred no out-of-pocket litigation expenses while pursuing this claim.
Respondent has no objection to the amount requested for attorneys’ fees and costs.

        After reviewing the request, the Court awards a check made payable to petitioner
and petitioner’s attorney in the amount of $16,673.30 for attorneys’ fees and other
litigation costs. The Court thanks the parties for their cooperative efforts in resolving this
matter.

       The Clerk shall enter judgment accordingly.2

       IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party filing
a notice renouncing the right to seek review by a United States Court of Federal Claims judge.
